
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.*
The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent neglected a legal matter and failed to communicate with a client. Thereafter, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Charmaine L. Marchand, Louisiana Bar Roll number 26986, be publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.

 Chief Justice Kimball not participating in the opinion.

